                             Case 19-11299-LSS                     Doc 189-1             Filed 07/24/19         Page 1 of 18


Fill in this information to identify the case:

             United Sporting Companies, Inc.
Debtor name __________________________________________________________________
                                                                           Delaware
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
                          19-11307
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/1

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    
    ✔    None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                              Operating a business
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date            Other _______________________    $________________


           For prior year:                 From ___________         to     ___________         
                                                                                               ✔   Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:       From ___________         to     ___________         
                                                                                               ✔   Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




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Debtor               United Sporting Companies, Inc.
                    _______________________________________________________                                           19-11307
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,25. (This amount may be
    adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     
     ✔      None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,25. (This amount may be adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
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Debtor               United Sporting Companies, Inc.
                    _______________________________________________________                                                       19-11307
                                                                                                           Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✔      None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✔      None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
              See attached Rider 3.7
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name
                                                                                                  __________________________________________
                                                                                                                                                          Concluded
             Case number
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


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Debtor                United Sporting Companies, Inc.
                     _______________________________________________________                                                  19-11307
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✔      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✔      None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     
     ✔      None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


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Debtor              United Sporting Companies, Inc.
                   _______________________________________________________                                               19-11307
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

     
     ✔     None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




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Debtor              United Sporting Companies, Inc.
                   _______________________________________________________                                               19-11307
                                                                                                  Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.     See attached Rider 7.14
            _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


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Debtor              United Sporting Companies, Inc.
                   _______________________________________________________                                                  19-11307
                                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                            ■


                                                                                                                                           
                                                                                                                                            ■
                                                                                                                                             Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                       Name, address, FEIN, Federal firearms license
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                 ✔    No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                   
                   ✔   Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan
                           United Sporting 401(k) Plan
                          _______________________________________________________________________                       5 ___
                                                                                                                           7 – ___
                                                                                                                                0 ___
                                                                                                                                   9 ___
                                                                                                                                      5 ___
                                                                                                                                         7 ___
                                                                                                                                            0 ___
                                                                                                                                               6 ___
                                                                                                                                                  9
                                                                                                                 EIN: ___

                       Has the plan been terminated?
                       
                       ✔    No
                           Yes



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Debtor                United Sporting Companies, Inc.
                     _______________________________________________________                                             19-11307
                                                                                                  Case number (if known)_____________________________________
                     Name




 Part 10:            Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

        ✔   None
              Financial institution name and address       Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.       ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

   18.2.       ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        ✔
             None

                Depository institution name and address    Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

               ______________________________________      __________________________________         __________________________________                 No
              Name
                                                           __________________________________         __________________________________
                                                                                                                                                         Yes
              ______________________________________
              Street                                       __________________________________         __________________________________             
              ______________________________________
              ______________________________________        Address                                                                                  
              City                  State       ZIP Code
                                                           ____________________________________

                                                           ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔        None

                Facility name and address                  Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
               ______________________________________
              Name
                                                           __________________________________         __________________________________               Yes
              ______________________________________
                                                           __________________________________         __________________________________              
              Street                                       __________________________________         __________________________________
              ______________________________________
              ______________________________________         Address                                                                                  
              City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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Debtor            United Sporting Companies, Inc.
                 _______________________________________________________                                                       19-11307
                                                                                                        Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                              Location of the property                    Description of the property                 Value

                                                                                                                                                        $_______
          ______________________________________                __________________________________          __________________________________
          Name
                                                                __________________________________          __________________________________
          ______________________________________
          Street                                                __________________________________          __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                   Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________              __________________________________         Pending
          Case number                                    Name
                                                                                                            __________________________________
                                                                                                                                                       On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                       Concluded
                                                                                                            __________________________________
                                                         _____________________________________                                                      
                                                         _____________________________________
                                                         City                    State       ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address                 Environmental law, if known            Date of notice


          __________________________________             _____________________________________              __________________________________       __________
          Name                                           Name
                                                                                                            __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                             __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State        ZIP Code




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Debtor              United Sporting Companies, Inc.
                   _______________________________________________________                                                19-11307
                                                                                                   Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.
                                                                                                                      5 ___
                                                                                                                EIN: ___ 7 – ___
                                                                                                                              0 ___
                                                                                                                                 9 ___
                                                                                                                                    5 ___
                                                                                                                                        7 ___
                                                                                                                                           0 ___
                                                                                                                                               6 ___9
   25.1.     Ellett Brothers, LLC
            __________________________________          Sale of sporting firearms
                                                       _____________________________________________
            Name                                                                                                Dates business existed
             267 Columbia Ave.                         _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______            Present
                                                                                                                                     To _______
             Chapin            SC       29036
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.
                                                                                                                Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________                                                                  From _______         To _______
            City                  State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                              Case 19-11299-LSS                  Doc 189-1          Filed 07/24/19             Page 11 of 18

Debtor             United Sporting Companies, Inc.
                  _______________________________________________________                                                 19-11307
                                                                                                   Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service


              See attached Rider 13.26.a                                                                        From _______       To _______
   26a.1.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                     2004
                                                                                                                From _______          2018
                                                                                                                                   To _______
         26b.1.       Elliott Davis Decosimo LLC
                     ______________________________________________________________________________
                     Name
                      1901 Main Street, Suite 900
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Columbia                                     SC                  29201
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                     2002
                                                                                                                From _______          2019
                                                                                                                                   To _______
         26b.2.       Price Waterhouse Cooper
                     ______________________________________________________________________________
                     Name
                      Captrust Tower, 4208 Six Forks Road
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Raleigh                                      NC                  27609
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.       Michelle Burgess
                     ______________________________________________________________________________             _________________________________________
                     Name
                      267 Columbia Ave., P.O. Box 128                                                           _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                      Chapin                                       SC                  29036
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                                Case 19-11299-LSS                 Doc 189-1         Filed 07/24/19                      Page 12 of 18

Debtor                United Sporting Companies, Inc.
                     _______________________________________________________                                                19-11307
                                                                                                     Case number (if known)_____________________________________
                     Name




                       Name and address                                                                                 If any books of account and records are
                                                                                                                        unavailable, explain why


           26c.2.      ______________________________________________________________________________                   _________________________________________
                       Name
                                                                                                                        _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                           _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.       See attached Rider 13.26.d
                       ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
 
  ✔         Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                         Date of             The dollar amount and basis (cost, market, or
                                                                                                     inventory           other basis) of each inventory

                                                                                                  Cycle - Weekly,
              Various employees
              ______________________________________________________________________              Monthly & Quarterly
                                                                                                    _______               0.00
                                                                                                                        $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Michelle Burgess, Controller
               ______________________________________________________________________
              Name
              267 Columbia Ave
              ______________________________________________________________________
              Street
              ______________________________________________________________________
               Chapin                                            SC           29036
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 12
                              Case 19-11299-LSS                Doc 189-1          Filed 07/24/19              Page 13 of 18

Debtor              United Sporting Companies, Inc.
                   _______________________________________________________                                            19-11307
                                                                                               Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
             SportCo Holdings, Inc.             267 Columbia Ave., Chapin, SC 29036                   Shareholder                             100%
            ____________________________        _____________________________________________        ____________________________            _______________
             Bradley P. Johnson                 267 Columbia Ave., Chapin, SC 29036                     CEO, Chairman of the Board
            ____________________________        _____________________________________________        ____________________________            _______________
             Jim McCrudden                      267 Columbia Ave., Chapin, SC 29036                     CFO
            ____________________________        _____________________________________________        ____________________________            _______________
             Alexander Carles                   267 Columbia Ave., Chapin, SC 29036                     Director
            ____________________________        _____________________________________________        ____________________________            _______________
             Justin Vorwerk                     267 Columbia Ave., Chapin, SC 29036                     Director
            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
  
  ✔      No
         Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  
  ✔        No
         Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
                                 Case 19-11299-LSS                      Doc 189-1     Filed 07/24/19            Page 14 of 18

Debtor                United Sporting Companies, Inc.
                     _______________________________________________________                                               19-11307
                                                                                                    Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State        ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on         07 / 24 / 2019
                               _________________
                                MM / DD / YYYY



               /s/ Dalton Edgecomb
              ___________________________________________________________                              Dalton Edgecomb
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Chief Restructuring Officer
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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        1RQ,QGLYLGXDOV)LOLQJIRU
        /HJDO$FWLRQVRI$VVLJQPHQWV
/HJDODFWLRQVDGPLQLVWUDWLYHSURFHHGLQJVFRXUWDFWLRQVH[HFXWLRQVDWWDFKPHQWVRUJRYHUQPHQWDODXGLWVZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH

         CASETITLE                                     CASENUMBER            NATUREOFCASE                                 COURTORAGENCY'SNAMEAND         STATUS
                                                                                                                                          ADDRESS


7.1      HecklerandKoch,Inc.v.EllettBrothers,LLC, 3:19ͲcvͲ01137ͲJMC    NonͲpaymentofgoodsreceived                UnitedStatesDistrictCourtforthe _X_Pending
         UnitedSportingCompanies,Inc.andJerry's                                                                       DistrictofSouthCarolina,Collumbia ___Onappeal
         SportCenter                                                                                                       Division                               ___Concluded

7.2      Mericle100Capital,LLCv.UnitedSporting   3:19ͲcvͲ00805ͲARC      Breachofcommerciallease                   UnitedStatesDistrictCourtforthe   _X_Pending
         Companies,Inc.                                                                                                    MiddleDistrictofPennsylvania         ___Onappeal
                                                                                                                                                                    ___Concluded

7.3      MKSSupplyLLCv.UnitedSporting             3:19ͲcvͲ01381          Breachofcontractrepaymentforgoods      IntheCourtofCommonPleas,          __Pending
         Companies,Inc.                                                                                                    MontgomeryCountyOhioCivil           ___Onappeal
                                                                                                                            Division                                _X_Concluded

7.4      JamesGraff                                    563Ͳ000260Ͳ001         Plaintiffinjuredusingproduct              UNSURE                                  _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.5      POLLAK, MICHAEL, Workers Comp                  005084-000061-WC-01    EEWorkInjury                               Pennsylvania                            __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.6      MCNALLY, JOHN, Workers Comp                    005084-000036-WC-01    EEWorkInjury                               Texas                                   _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.7      SIMMSSHAZERRIAN,WorkersCompͲInd           555Ͳ255366Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.8      MEGGETTSUZETTE,WorkersCompͲInd            555Ͳ250897Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.9      GUYJUSTIN,WorkersCompͲMed                 555Ͳ270247Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.10     JOHNSONBRADLEYP,WorkersCompͲMed          555Ͳ270600Ͳ001         EEWorkInjury                               SouthCarolina                          _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.11     BRIGHTRICKY,WorkersCompͲMed               555Ͳ269340Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.12     TRAPPTOSHAI,WorkersCompͲInd               555Ͳ268756Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.13     HARMONSHACONDRIA,WorkersCompͲInd 555Ͳ267772Ͳ001                  EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.14     MANTIKJERILYN,WorkersCompͲMed             555Ͳ267494Ͳ001         EEWorkInjury                               Pennsylvania                            __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.15     GALLMANANGELIA,WorkersCompͲInd            555Ͳ264667Ͳ001         EEWorkInjury                               SouthCarolina                          _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.16     BUCCILINDA,WorkersCompͲInd                555Ͳ263734Ͳ001         EEWorkInjury                               Pennsylvania                            __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.17     LEGGETTLYNDLE,WorkersCompͲMed             572Ͳ033443Ͳ001         EEWorkInjury                               Missouri                                __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.18     TUCKERROBERTA,WorkersCompͲNOL             555Ͳ260544Ͳ001         EEWorkInjury                               Pennsylvania                            _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.19     STRIBBLELANDON,WorkersCompͲMed            555Ͳ260334Ͳ001         EEWorkInjury                               SouthCarolina                          __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.20     BARRETTTRACEY,WorkersCompͲMed             555Ͳ272560Ͳ001         EEWorkInjury                               SouthCarolina                          _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded
7.21     YATESTYLER,WorkersCompͲMed                572Ͳ049400Ͳ001         EEWorkInjury                               MIssouri                                __Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    _X_Concluded
7.22     HOGGPEGGY,WorkersCompͲInd                 555Ͳ270996Ͳ001         EEWorkInjury                               SouthCarolina                          _X_Pending
                                                                                                                                                                    ___Onappeal
                                                                                                                                                                    ___Concluded




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                                                                                                                 ĂƚĞƐŽĨKĐĐƵƉĂŶĐǇ
          ĚĚƌĞƐƐϭ               ĚĚƌĞƐƐϮ                     ŝƚǇ                  ^ƚĂƚĞ   ŝƉ              &ƌŽŵ              dŽ

ϭϰ͘ϭ      ϭϱϬ͘WĞŶŶƐǇůǀĂŶŝĂǀĞ͕͘^ƵŝƚĞϱϯϬ                   ŽǁŶŝŶŐƚŽŶ            W            ϭϵϯϯϱ    :ĂŶƵĂƌǇͲϬϲ       DĂǇͲϭϵ



ϭϰ͘Ϯ      ϱϵϯϱ'ƌĂŶŝƚĞ>ĂŬĞƌ͕͘^ƵŝƚĞϭϮϬ                      'ƌĂŶŝƚĞĂǇ                       ϵϱϳϰϲ     DĂǇͲϭϭ          ƉƌŝůͲϭϴ



ϭϰ͘ϯ      ŽŵŵĞƌĐĞWĂƌŬ           ϴϰϯϮ^ƚĞƌůŝŶŐ^ƚƌĞĞƚ^ƵŝƚĞϭϬϭ/ƌǀŝŶŐ                dy            ϳϱϬϲϯ     ƉƌŝůͲϭϯ        DĂǇͲϭϵ



ϭϰ͘ϰ      ĞŶƚĞƌWŽŝŶƚWĂƌŬ       ϭϬϬĂƉŝƚĂůZŽĂĚ              :ĞŶŬŝŶƐdŽǁŶƐŚŝƉ      W            ϭϴϲϰϬ     DĂǇͲϭϭ          ƉƌŝůͲϭϵ



ϭϰ͘ϲ      ϵϲϳtĂƚĞƌƚŽǁĞƌ>ĂŶĞ                                   ĂǇƚŽŶ                K,            ϰϱϰϰϵ EŽǀĞŵďĞƌͲϬϵ      ^ĞƉƚĞŵďĞƌͲϭϴ



ϭϰ͘ϴ      ϰϭϳ'ƌĞĂƚKĂŬƌŝǀĞ                                   tĂŝƚĞWĂƌŬ            DE            ϱϲϯϴϳ     :ƵŶĞͲϭϴ         ƉƌŝůͲϭϵ



ϭϰ͘ϵ      ϯϬϭϱ^ŽƵƚŚϭϬϯϬtĞƐƚ                                  ^Ăůƚ>ĂŬĞŝƚǇ        hd            ϴϰϭϭϵ     :ƵŶĞͲϭϴ         :ƵŶĞͲϭϵ



ϭϰ͘ϭϬ     ϱϱϰϬ&ĂůŵŽƵƚŚ^ƚƌĞĞƚ    ^ƵŝƚĞϯϬϳ                     ZŝĐŚŵŽŶĚ              s            ϮϯϮϯϬ   KĐƚŽďĞƌͲϭϰ        :ƵŶĞͲϭϴ
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3DUW
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%RRNVUHFRUGVDQGILQDQFLDOVWDWHPHQWV
D/LVWDOODFFRXQWDQWVDQGERRNNHHSHUVZKRPDLQWDLQHGWKHGHEWRU VERRNVDQGUHFRUGVZLWKLQ\HDUVEHIRUHILOLQJWKHFDVH


           Name                                Address                                     BeginDateofService   EndDateofService

26a.1      MichelleBurgess                    267ColumbiaAve.,P.O.Box128                    Sept.2017             Present
                                               Chapin,SC29036
26a.2      MarkWinter                         267ColumbiaAve.,P.O.Box128                  March2002              Feb.2019
                                               Chapin,SC29036
26a.3      MarkEllenwood                      267ColumbiaAve.,P.O.Box128                    May2017               Present
                                               Chapin,SC29036
26a.4      JannaBrown                         267ColumbiaAve.,P.O.Box128                    July2012              Present
                                               Chapin,SC29036
26.a.5     LamontDeter                        267ColumbiaAve.,P.O.Box128                  March2009            February2018
                                               Chapin,SC29036


           




           




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3DUW
          'HWDLOV$ERXWWKH'HEWRU V%XVLQHVVRU&RQQHFWLRQVWR$Q\%XVLQHVV
%RRNVUHFRUGVDQGILQDQFLDOVWDWHPHQWV
G/LVWDOOILQDQFLDOLQVWLWXWLRQVFUHGLWRUVDQGRWKHUSDUWLHVLQFOXGLQJPHUFDQWLOHDQGWUDGHDJHQFLHVWRZKRP
WKHGHEWRULVVXHGDILQDQFLDOVWDWHPHQWZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH

           Name                              Address                         City            State Zip         Country

26d.1      VistaOutdoors                    viaemail
26d.2      FreedomGroup                     viaemail
26d.3      Coface                            viaemail
26d.4      SturmRuger                       viaemail
26d.5      ProspectCapital                 viaemail
26d.6      SummitPartners                   viaemail
26d.7      BankofAmerica                   viaemail
26d.8      RegionsBank                      viaemail
26d.9      WellsFargo                       viaemail
26d.10     Smith&Wesson                    viaemail
26d.11     EquityRiskPartners              viaemail




                                                                                                                         Page1of1
